Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 1 of 31




                  Exhibit A
        Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 2 of 31




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

                                  Plaintiff,

                         v.                             Civil Action No. 1:20−cv−03590 (JEB)

 META PLATFORMS, INC.

                                  Defendant.


                              [PROPOSED] PROTECTIVE ORDER

        In the interests of (i) ensuring efficient and prompt resolution of this Action;

(ii) facilitating discovery by the Parties litigating this Action; and (iii) protecting confidential

information from improper disclosure or use, the Court, upon good cause shown and pursuant to

Fed. R. Civ. P. 26(c)(1), ORDERS as follows:

A.      Definitions

        1.      As used herein:

                (a)     “Action” means the above-captioned action pending in this Court,

                        including any related discovery, pretrial, trial, post-trial, or appellate

                        proceedings.

                (b)     “Confidential Information” means any trade secret or other confidential

                        research, development, or commercial information, as such terms are used

                        in Fed. R. Civ. P. 26(c)(1)(G), or any document, transcript, or other

                        material containing such information that has not been published or

                        otherwise made publicly available. In addition, a Designating Party may

                        designate as Confidential any information or items made publicly


                                                   1
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 3 of 31




           available in violation of a court order to keep such information

           confidential, that the Designating Party believes should receive

           Confidential treatment. This includes (i) information copied or extracted,

           summarized or compiled from Confidential Information, and

           (ii) testimony, conversations, or presentations that might reveal

           Confidential Information.

     (c)   “Competitive Decision-Making” means decision-making relating to a

           competitor, potential competitor, customer, or distribution partner

           including decisions regarding contracts, marketing, pricing, product or

           service development or design, product or service offerings, research and

           development, mergers and acquisitions, or licensing, acquisition, or

           enforcement of intellectual property rights.

     (d)   “Defendant” means Meta Platforms, Inc., and its and their predecessors,

           divisions, subsidiaries, affiliates, partnerships, successors, and joint

           ventures, and all directors, officers, employees, agents (including counsel),

           and representatives of the foregoing, including but not limited to,

           Instagram and WhatsApp.

     (e)   “Disclosed” means shown, divulged, revealed, produced, described,

           transmitted or otherwise communicated, in whole or in part.

     (f)   “Document” means any document or electronically stored information, as

           the term is used in Fed. R. Civ. P. 34(a).




                                      2
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 4 of 31




     (g)   “Highly Confidential Information,” as defined herein, shall only include

           Confidential Information that, if disclosed, is likely to cause material and

           significant harm to a Protected Person.

           Highly Confidential Information includes trade secrets, including

           algorithms and source code; non-public, commercially sensitive customer

           lists; non-public financial, marketing, or strategic business planning

           information; current or future non-public information regarding prices,

           costs, or margins; information relating to research, development, testing

           of, or plans for existing or proposed future products; evaluation of the

           strengths and vulnerabilities of a Protected Person’s product offerings,

           including non-public pricing and cost information; confidential contractual

           terms, proposed contractual terms, or negotiating positions (including

           internal deliberations about negotiating positions) taken with respect to

           Defendant or competitors to Defendant; information relating to pending or

           abandoned patent applications that have not been made available to the

           public; personnel files; sensitive personally identifiable information;

           sensitive health information; and communications that disclose any Highly

           Confidential Information. Highly Confidential Information also includes

           information that a Non-Party believes would expose it or new business

           ventures with which it is associated to potential retribution or harm if the

           information were disclosed to Defendant. If a Protected Person (i) has

           produced Investigation Materials or (ii) is required by subpoena or court

           order to produce information that would cause it material and significant



                                     3
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 5 of 31




           competitive or commercial harm, but that information does not

           specifically fall into one of the categories of information listed in this

           paragraph, upon a compelling showing, it may seek a court order that such

           information is Highly Confidential and should be withheld from In-House

           Counsel. If a motion is made pursuant to this paragraph and is related to

           Investigation Materials, it must be filed co-currently with its Highly

           Confidential Designations under paragraph B(2)(a). If a motion is made

           pursuant to this paragraph and is related to a subpoena or court order, it

           must be filed no later than the due date to respond to the subpoena or court

           order. If a Protected Person seeks additional protection pursuant to this

           paragraph from the Court, the materials for which additional protection

           has been sought will not be provided to other Persons, aside from outside

           counsel, until the Court has ruled.

     (h)   “In-House Counsel” means attorneys employed by Defendant for the

           purpose of rendering legal services, as well as paralegals, secretaries, and

           clerical and administrative personnel that are employed by Defendant for

           the purpose of assisting attorneys employed by Defendant for the purpose

           of rendering legal services.

     (i)   “Investigation” means the pre-Complaint inquiry by Plaintiff, marked as

           Federal Trade Commission File No. 191-0134, regarding potential

           anticompetitive conduct by Defendant.

     (j)   “Investigation Materials” means non-privileged documents, testimony or

           other materials that (i) any Non-Party provided to the Federal Trade



                                      4
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 6 of 31




           Commission, either voluntarily or under compulsory process, relating to

           the Investigation; (ii) constitute any communication the Federal Trade

           Commission and any Non-Party relating to and during the Investigation;

           or (iii) Defendant, or affiliated person or entity, provided to the Federal

           Trade Commission relating to the Investigation.

     (k)   “Litigation Materials” means non-privileged documents, testimony, or

           other materials that (i) any Non-Party provides to any Party, either

           voluntarily or under compulsory process, in connection with and during

           the pendency of this Action; (ii) constitute any communication between

           any Party and any Non-Party in connection with and during the pendency

           of this Action; (iii) Defendant provides to Plaintiff in connection with and

           during the pendency of this Action; and/or (iv) Plaintiff provides to

           Defendant in connection with and during the pendency of this Action.

     (l)   “Non-Party” means any Person not named as a Party to this Action.

     (m)   “Outside Counsel of Record” means the attorneys employed by outside

           law firms representing Defendant in this proceeding, as well as attorney

           support staff.

     (n)   “Party” means the Plaintiff or Defendant in this Action. “Parties” means

           collectively Plaintiff and Defendant in this Action.

     (o)   “Plaintiff” means the U.S. Federal Trade Commission and all of its

           employees, agents, and representatives.




                                      5
     Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 7 of 31




           (p)    “Person” means any natural person, corporate entity, business entity,

                  partnership, association, joint venture, governmental entity, trust, or other

                  legal entity.

           (q)    “Protected Person” means any Person (including a Party or Non-Party)

                  that either voluntarily or under compulsory process, has provided or

                  provides (i) Investigation Materials in connection with the Investigation,

                  or (ii) Litigation Materials.

B.   Designation of Highly Confidential Information and Confidential Information

     1.    Within 5 business days of the Court’s entry of this Order, Plaintiff shall send by

           email, facsimile, or overnight delivery a copy of this Order to each Non-Party

           Protected Person (or, if represented by counsel, the Non-Party Protected Person’s

           counsel) that provided Investigation Materials to the Federal Trade Commission.

     2.    DESIGNATION OF INVESTIGATION MATERIALS AS HIGHLY

           CONFIDENTIAL BY PROTECTED PERSONS. A Protected Person may

           designate any Investigation Materials they produced as Highly Confidential

           pursuant to the following procedures:

           (a)    Defendant is not required to re-designate Investigation Materials as

                  Confidential or Highly Confidential: all Investigation Materials produced

                  by Defendant presumptively shall be treated as Highly Confidential,

                  subject to the Challenge process described below in Section C, and any

                  further relevant orders or procedures the Court adopts governing the

                  designation and use in this Action of Investigation Materials produced by




                                             6
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 8 of 31




           Defendant (e.g., procedures governing the designation of trial exhibits as

           Highly Confidential).

     (b)   Other than Defendant, each Protected Person shall have 60 days after

           receiving a copy of this Order (the “Designation Period”) to designate as

           Highly Confidential Information any Investigation Materials to the extent

           the Protected Person determines, in good faith, that the Investigation

           Materials include Highly Confidential Information, and that such

           designation is necessary to protect the interests of the Protected Person.

           Such Investigation Materials may be so designated, if they have not

           already been designated, by providing written notice by overnight mail or

           email and a replacement production to the party to which the Investigation

           Materials were produced that includes copies of the Investigation

           Materials stamped with the legend “HIGHLY CONFIDENTIAL

           INFORMATION PURSUANT TO FTC PROTECTIVE ORDER,” in a

           manner that will not interfere with legibility, including page numbering, or

           audibility. If a Non-Party is unable to submit a replacement production

           due to burden, it may instead provide written notice by overnight mail or

           email to the party to which the Investigation Materials were produced that

           includes detailed designations of every document that includes Highly

           Confidential Information.

           Any document that contains Highly Confidential Information may be

           designated Highly Confidential Information in its entirety.




                                     7
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 9 of 31




     (b)(c) Until the expiration of this Designation Period, all Investigation Materials

            will be treated as Highly Confidential Information in their entirety.

            Investigation Materials—other than Investigation Materials produced by

            Defendant—that are not designated as Highly Confidential by the end of

            the expiration of this Designation Period shall be treated as Confidential

            Information for purposes of this Order pursuant to the Antitrust Civil

            Process Act, or any other federal or state statute or regulation, or under

            any federal or state court precedent interpreting such statute or regulation,

            as well as any information that discloses the substance of the contents of

            any Highly Confidential Information or Confidential Information derived

            from a document subject to this Order, and any information taken from

            any portion of such material.

            The identity of a Non-Party submitting such Highly Confidential

            Information or Confidential Information shall also be treated as Highly

            Confidential Information or Confidential Information for the purposes of

            this Order; unless or until such a time as the Non-Party informs a Party

            that such treatment is not required.

3.   If a Non-Party Protected Person believes that this Order does not adequately

     protect its Highly Confidential Information or Confidential Information, it may,

     within 10 days after receipt of a copy of this Order, seek additional protection

     from the Court for the Non-Party Protected Person’s Highly Confidential

     Information or Confidential Information. If a Non-Party Protected Person seeks

     additional protection from the Court, the Investigation Materials for which



                                       8
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 10 of 31




      additional protection has been sought will not be provided to other Persons, aside

      from outside counsel, until the Court has ruled.

4.    Any production of documents or testimony not designated as Confidential or

      Highly Confidential Information will not be deemed a waiver of any future claim

      of confidentiality concerning such information if it is later designated as

      Confidential or Highly Confidential Information. If at any time before trial of this

      Action, a Protected Person realizes that it should have designated as Highly

      Confidential or Confidential any Investigation Materials or Litigation Materials

      that Person previously produced during discovery in this Action, it may so

      designate such documents, testimony, or other materials by notifying the Parties

      in writing and providing a replacement production to the party to which the

      Investigation Materials or Litigation Materials were produced that includes copies

      of the Investigation Materials or Litigation Materials stamped with the legend

      “HIGHLY CONFIDENTIAL INFORMATION PURSUANT TO FTC

      PROTECTIVE ORDER,” or “CONFIDENTIAL INFORMATION PURSUANT

      TO FTC PROTECTIVE ORDER”, in a manner that will not interfere with

      legibility, including page numbering, or audibility. The Parties shall thereafter

      treat the Investigation Materials or Litigation Materials pursuant to the Protected

      Person’s new designation under the terms of this Order. However, the disclosure

      of any information for which disclosure was proper when made will not be

      deemed improper regardless of any such subsequent confidentiality designation.

5.    If a Party learns that, by inadvertence or otherwise, it has disclosed a Protected

      Person’s Confidential Information or Highly Confidential Information in any



                                        9
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 11 of 31




      circumstance not authorized under this Order, the Party must immediately

      (i) notify in writing the Protected Person of the unauthorized disclosure, (ii) use

      its best efforts to retrieve all unauthorized copies of the disclosed material,

      (iii) inform the person or persons to whom unauthorized disclosures were made of

      the terms of this Order, and (iv) request such person or persons acknowledge and

      agree to be bound by Appendix A.

6.    DESIGNATION OF LITIGATION MATERIALS AS HIGHLY

      CONFIDENTIAL OR CONFIDENTIAL BY PROTECTED PERSONS. The

      following procedures govern the process for Protected Persons to designate as

      Highly Confidential or Confidential any information that they disclose in this

      Action after this Order is entered based on a good-faith belief that such materials

      qualify for that designation under the terms of this Order, including but not

      limited to information in response to requests under Fed. R. Civ. P. 30, 31, 33, 36,

      and 45, and documents disclosed in response to Fed. R. Civ. P. 33(d), 34(b)(2)

      and (c), or 45:

      (a)    Testimony. All transcripts of depositions taken in this Action after entry

             of this Order will be treated as Highly Confidential Information in their

             entirety for 30 days after the date when a complete and final copy of the

             transcript has been made available to the deponent (or the deponent’s

             counsel, if applicable). Within five (5) business days of receipt of the

             final transcript, the Party who noticed the deposition shall provide the final

             transcript to the deponent. Within 30 days following receipt of the final

             transcript, the deponent may designate as Highly Confidential Information



                                        10
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 12 of 31




            any portion of the deposition transcript, by page(s) and line(s), and any

            deposition exhibits provided by the deponent or the deponent’s employer.

            To be effective, such designations must be provided in writing to

            Plaintiff’s and Defendant’s counsel. Any portion of the transcript or

            exhibits not so designated pursuant to this subparagraph 6(a) shall be

            treated as Confidential Information, subject to the Challenge process

            described below in Section C.

            When a Party is entitled under this Order to question a deponent about a

            document or information that has been designated by a different Protected

            Person as Highly Confidential or Confidential, the Party that asked such

            questions shall designate as either Highly Confidential or Confidential the

            portion of the transcript relating to such Highly Confidential or

            Confidential document or information.

      (b)   Documents. A Protected Person who designates as Highly Confidential

            Information any document that it produces in this Action must stamp or

            otherwise mark each document containing said information with the

            designation “HIGHLY CONFIDENTIAL PURSUANT TO FTC

            PROTECTIVE ORDER” in a manner that will not interfere with

            legibility, including page numbering, or audibility.

            A Protected Person who designates as Confidential Information any

            document that it produces in this Action must stamp or otherwise mark

            each document containing said information with the designation

            “CONFIDENTIAL PURSUANT TO FTC PROTECTIVE ORDER” in a



                                     11
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 13 of 31




            manner that will not interfere with legibility, including page numbering, or

            audibility.

            Any document that contains Confidential Information may be designated

            Confidential Information in its entirety. Any document that contains

            Highly Confidential Information may be designated Highly Confidential

            Information in its entirety.

      (c)   Electronic Documents and Data. Where a Protected Person produces

            electronic files and documents in native electronic format, such electronic

            files and documents shall be designated by the Protected Person for

            protection under this Order by appending to the file names or designators

            information indicating whether the file contains Highly Confidential

            Information or Confidential Information, or by any other reasonable

            method for appropriately designating such information produced in

            electronic format, including by making such designations in reasonably

            accessible metadata associated with the files. Where Highly Confidential

            Information or Confidential Information is produced in electronic format

            on a disk or other medium that contains exclusively Confidential

            Information, the “HIGHLY CONFIDENTIAL PURSUANT TO FTC

            PROTECTIVE ORDER” or “CONFIDENTIAL PURSUANT TO FTC

            PROTECTIVE ORDER” designation may be placed on the disk or other

            medium. When electronic files or documents in native form are printed

            for use at deposition, in a court proceeding, or for provision in printed

            form to any person described in subparagraph D(2)(g), the Party printing



                                      12
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 14 of 31




             the electronic files or documents shall affix a legend to the printed

             document saying, “HIGHLY CONFIDENTIAL PURSUANT TO FTC

             PROTECTIVE ORDER” or “CONFIDENTIAL PURSUANT TO FTC

             PROTECTIVE ORDER” and include the production number and

             designation associated with the native file.

             Any electronic file or document that contains Confidential Information

             may be designated Confidential Information in its entirety. Any electronic

             file or document that contains Highly Confidential Information may be

             designated Highly Confidential Information in its entirety.


7.    DESIGNATION OF LITIGATION MATERIALS FROM NON-PARTIES. In

      the event that a Party receives a discovery request in this Action to produce a

      Non-Party’s Highly Confidential Information or Confidential Information in its

      possession, then the Party shall:

      (a)    promptly notify in writing the Party seeking the Highly Confidential

             Information or Confidential Information that some or all of the

             information requested is subject to a confidentiality agreement with a

             Non-Party;

      (b)    promptly notify the Non-Party that its Highly Confidential Information or

             Confidential Information is being requested and either provide a

             reasonably specific description of the information or make the information

             requested available for inspection by the Non-Party; and

      (c)    promptly provide the Non-Party with a copy of the Stipulated Protective

             Order in this litigation and the relevant discovery request(s).

                                          13
        Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 15 of 31




         8.        If the Non-Party fails to seek a protective order from this Court within 14 days of

                   receiving the notice and accompanying information, the Non-Party’s Highly

                   Confidential Information or Confidential Information responsive to the discovery

                   request may be produced. If the Non-Party timely seeks a protective order, its

                   Highly Confidential Information or Confidential Information that is subject to the

                   confidentiality agreement shall not be produced before a determination by the

                   Court.1

         9.        The terms of this Order are applicable to information produced by a Non-Party in

                   this action and designated as Highly Confidential Information or Confidential

                   Information. Such information produced by Non-Parties in connection with this

                   litigation is protected by the remedies and relief provided by this Order. Nothing

                   in these provisions should be construed as prohibiting a Non-Party from seeking

                   additional protections.

C.       Challenges to Highly Confidential or Confidential Designation

         1.        Any Party who objects to any designation of confidentiality (the “Objecting

                   Party”) may at any time provide a written notice to the Protected Person who

                   made such designation (the “Designating Party”) and all Parties to this Action

                   stating with particularity the grounds for the objection. Objections to a

                   confidentiality designation may be made to any portion of a document that is

                   designated Confidential or Highly Confidential, including any particular

                   statement or information contained within a document. All materials objected to

                   shall continue to be treated as Confidential Information or Highly Confidential


1
 The purpose of this provision is to alert the interested parties to the existence of confidentiality rights of a
Non-Party and to afford the Non-Party an opportunity to protect its confidentiality interests in this Court.

                                                            14
     Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 16 of 31




           Information pending resolution of the dispute. Within 10 days of the Objecting

           Party’s written notice, the Objecting Party and the Designating Party shall attempt

           to confer to discuss their respective positions. If the Objecting Party and

           Designating Party cannot reach agreement on the objection within 14 days of the

           Objecting Party’s written notice service (or another deadline agreed to by the

           Objecting Party and the Designating Party), the Objecting Party may address the

           dispute to this Court by filing a letter motion and/or motion in accordance with

           applicable rules. If the Court finds that any portion of the document or statement

           at issue does not constitute Highly Confidential Information or Confidential

           Information, the challenged designation shall be considered rescinded with

           respect to that portion of the document or statement.

D.   Disclosure of Highly Confidential Information or Confidential Information

     1.    Highly Confidential Information may be disclosed only to the following persons:

           (a)    the Court and all persons assisting the Court in this Action, including law

                  clerks, court reporters, and stenographic or clerical personnel;

           (b)    U.S. Federal Trade Commission attorneys, paralegals and other

                  professional personnel (including support and IT staff), and agents or

                  independent contractors retained by Plaintiff to assist in this Action whose

                  functions require access to the information;

           (c)    Outside Counsel of Record for Defendant, including any attorneys (but not

                  In-House Counsel for the Defendant), paralegals, and other professional

                  personnel (including support and IT staff) that such outside counsel




                                            15
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 17 of 31




            assigns to this Action whose functions require access to the information

            (but not any employee of the Defendant);

      (d)   outside vendors or service providers (such as copy-service providers,

            eDiscovery vendors and similar service providers, outside court reporters

            retained for depositions, and document-management consultants) retained

            by a Party to assist that Party in this Action provided that they shall first

            execute an Agreement Concerning Confidentiality in the form of

            Appendix A attached hereto;

      (e)   any mediator, arbitrator, or special master that the Parties engage in this

            Action or that this Court appoints;

      (f)   persons who the Highly Confidential Information itself indicates, or who

            the receiving party has a good-faith basis to believe, were the author,

            addressee, recipient, custodian, or source of the document, to the extent

            they have previously had lawful access to the document disclosed or to be

            disclosed; addition, during a deposition or trial, a witness who is a current

            or former employee of a Party may be shown any portion of a document

            produced by that Party that purports to quote, recount, or summarize said

            employee’s statements or communications (for the avoidance of doubt,

            other portions of a document may be shown to the current or former

            employee where necessary to orient said employee’s deposition or trial

            testimony regarding the relevant statements);

      (g)   any person retained by a Party to serve as a testifying or consulting expert

            in this Action, including employees of the firm with which the expert or



                                      16
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 18 of 31




             consultant is associated or independent contractors who assist the expert’s

             work in this Action, provided that they shall first execute an Agreement

             Concerning Confidentiality in the form of Appendix A attached hereto;

             and

      (h)    outside trial consultants (including, but not limited to, graphics

             consultants) provided that they shall first execute an Agreement

             Concerning Confidentiality in the form of Appendix A attached hereto.

2.    Confidential Information may be disclosed only to the following persons:

      (a)    the Court and all persons assisting the Court in this Action, including law

             clerks, court reporters, and stenographic or clerical personnel;

      (b)    U.S. Federal Trade Commission attorneys, paralegals and other

             professional personnel (including support and IT staff), and agents or

             independent contractors retained by Plaintiff to assist in this Action whose

             functions require access to the information;

      (c)    Outside Counsel of Record for Defendant, including any attorneys (but not

             In-House Counsel for the Defendant except as provided in

             paragraph D(2)(d) and subject to the procedure in sections E through F),

             paralegals, and other professional personnel (including support and IT

             staff) that such outside counsel assigns to this Action whose functions

             require access to the information (but not any employee of the Defendant);

      (d)    Four In-House Counsel of Defendant with responsibilities for the litigation

             of this Action who do not currently, and for a period of two (2) years

             following the last occasion on which Confidential Information is disclosed



                                       17
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 19 of 31




            to such In-House Counsel shall not (a) participate in or advise on

            Competitive Decision-Making at the Defendant, (b) participate in or

            advise on Competitive Decision-Making involving a Protected Person

            whose Confidential Information they accessed during the course of this

            Action at any employer, or (c) participate in or advise on litigation or other

            legal actions on behalf of Defendant or any other employer where a

            Protected Person is a party and whose Confidential Information

            Designated In-House Counsel accessed in the course of this Action for

            two years following the last occasion on which Confidential Information is

            disclosed to such Designated In-House Counsel (aside from litigation

            arising from or related to the allegations in the Complaint in this action);

            to qualify for access under this subpart, in-house litigation counsel shall

            first execute an In-House Counsel Agreement Concerning Confidentiality

            in the form of Appendix B attached hereto (which executed versions shall

            be maintained by Outside Counsel for the relevant Defendant and

            available for inspection upon the request of the Court, any Party, or any

            non-Party Protected Person) and only access Confidential Information in

            person at the offices of Defendant’s Outside Counsel of Record, or using a

            secure electronic data room or document review platform using an

            individual login identification and password.

            Defendant shall promptly report any confirmed or suspected unauthorized

            use or disclosure of Confidential Information to the Court and Plaintiff.

            Any counsel subject to this subsection who leaves the employment of



                                      18
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 20 of 31




            Defendant to work in an industry unrelated to the decisions associated

            with Competitive Decision-Making shall be presumed to be exempt from

            the post-employment limits of this provision absent a showing by Plaintiff

            or any interested Protected Person that such a person engaged in

            Competitive Decision-Making;

      (e)   outside vendors or service providers (such as copy-service providers,

            eDiscovery vendors and similar service providers, outside court reporters

            retained for depositions, and document-management consultants) retained

            by a Party to assist that Party in this Action provided that they shall first

            execute an Agreement Concerning Confidentiality in the form of

            Appendix A attached hereto;

      (f)   any mediator, arbitrator, or special master that the Parties engage in this

            Action or that this Court appoints;

      (g)   persons who the Confidential Information itself indicates, or who the

            receiving party has a good-faith basis to believe, were the author,

            addressee, recipient, custodian, or source of the document, to the extent

            they have previously had lawful access to the document disclosed or to be

            disclosed; any current or former employee of a Party whose statements or

            communications are quoted, recounted, or summarized in said Party’s

            document; or persons for whom counsel for Plaintiff or Defendant

            believes in good faith previously received or had access to the document,

            unless the person indicates that he or she did not have access to the

            document;



                                      19
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 21 of 31




      (h)    any person retained by a Party to serve as a testifying or consulting expert

             in this Action, including employees of the firm with which the expert or

             consultant is associated or independent contractors who assist the expert’s

             work in this Action, provided that they shall first execute an Agreement

             Concerning Confidentiality in the form of Appendix A attached hereto;

             and

      (i)    outside trial consultants (including, but not limited to, graphics

             consultants) provided that they shall first execute an Agreement

             Concerning Confidentiality in the form of Appendix A attached hereto.

3.    Counsel for the Party making the disclosure must retain the original of the

      Agreement Concerning Confidentiality in the form of Appendix A attached hereto

      for a period of at least one (1) year following the final resolution of this Action.

4.    Each individual described in paragraphs D (1) and D (2) of this Order to whom

      information designated as Highly Confidential Information or Confidential

      Information is disclosed must not disclose that Highly Confidential Information or

      Confidential Information to any other individual, except as provided in this Order.

5.    Nothing in this Order prevents Plaintiff, subject to taking appropriate steps to

      preserve the confidentiality of such information, from disclosing such information

      designated as Highly Confidential Information or Confidential Information (i) in

      the course of any other legal proceeding in which the U.S. Federal Trade

      Commission is a party; (ii) for the purpose of securing compliance with a Final

      Judgment in this Action; or (iii) for law enforcement purposes. Such disclosures

      shall be limited to disclosures by the U.S. Federal Trade Commission.



                                        20
Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 22 of 31




6.    Nothing in this Order:

      (a)    limits a Protected Person’s use or disclosure of its own information

             designated as Highly Confidential Information or Confidential

             Information;

      (b)    prevents disclosure of Highly Confidential Information or Confidential

             Information with the consent of the Protected Person that designated the

             material as confidential;

      (c)    prevents disclosure by a Party of Highly Confidential Information or

             Confidential Information (i) that is or has become publicly known through

             no fault of that Party; (ii) lawfully acquired by or known to that Party

             independent of receipt during the Investigation or in discovery in this

             Action; (iii) previously produced, disclosed and/or provided to that Party

             without an obligation of confidentiality and not by inadvertence or

             mistake; or (iv) pursuant to an order of a court or (v) as may be required

             by regulation; or

      (d)    prevents the U.S. Federal Trade Commission’s retention, use, or

             disclosure of Investigation Materials outside the context of this Action to

             the extent permitted by applicable law or regulation governing such

             pre-complaint discovery including the Hart-Scott-Rodino Act, 15 U.S.C.

             § 18a, and the Antitrust Civil Process Act, 15 U.S.C. §§ 1311-14, or for

             law enforcement purposes, or as required by law, court order, or

             regulation. Any such disclosures shall be limited to those permitted by

             applicable law or regulation, including, in the case of materials obtained



                                         21
     Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 23 of 31




                  under the Antitrust Civil Process Act, 15 U.S.C. § 1313(d). Plaintiff will

                  not disclose any Litigation Material produced only during the pendency of

                  this Action to any Non-Party, except as ordered by a court or as may be

                  required by regulation and with seven (7) days written notice to Defendant

                  or interested Protected Person. If Investigation Materials or Litigation

                  Materials are requested for disclosure under a state’s public information

                  act or the equivalent, this Order prohibits disclosure to the extent the

                  state’s public information act or the equivalent provides an exception for

                  disclosure of information protected by court order. If a Party is served

                  with a subpoena or court order issued in other litigation that compels

                  disclosure of any Confidential Information or Highly Confidential

                  Information, the Party will promptly notify the Designating Party and the

                  Designating Party shall bear the burden and expense of seeking protection

                  in that court.

           (e)    permits the disclosure of Highly Confidential or Confidential Information

                  in another Action.

E.   Disclosure of Highly Confidential Information to In-House Counsel Based on Need

     1.    Defendant may at any time before the trial of this Action request disclosure of

           Highly Confidential Information to the In-House Counsel designated pursuant to

           paragraph D(2)(d) by consent of the Protected Person who made such designation

           (the “Designating Party”) or motion with the Court. Defendant shall provide a

           written notice to the Designating Party and all Parties to this Action stating with

           particularity the need for disclosure of each designated document or testimony



                                            22
     Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 24 of 31




           excerpt at issue. Defendant must meet and confer with the Designating Party to

           try to resolve the matter by agreement within 7 days of the written notice. If no

           agreement is reached, Defendant may file a motion with the Court. Plaintiff

           and/or the Designating Party will have seven (7) days to respond to such motion.

           Defendant will not disclose any Highly Confidential Information to its In-House

           Counsel pending resolution of the dispute. If the Court finds the designated

           In-House Counsel has a particularized need for access to the Highly Confidential

           Information that materially outweighs the risk of harm to both the Designating

           Party and to the public interest, Defendant will be able to disclose the Highly

           Confidential Information to its designated In-House Counsel notwithstanding

           paragraph D (2).

F.   Challenges to In-House Counsel

     1.    Unless otherwise ordered by the Court or agreed to in writing by the Protected

           Person, seven (7) days before disclosing any information designated as

           Confidential Information to the Defendant’s designated In-House Counsel,

           Defendant must submit in writing to Plaintiff and the Protected Person a written

           statement that (i) sets forth the full name of the Designated In-House Counsel and

           the city and state of his or her residence, (ii) describes the In-House Counsel’s

           past, current, and reasonably foreseeable future primary job duties and

           responsibilities in sufficient detail to determine if In-House Counsel is involved,

           or may become involved, in any Competitive Decision-Making; and (iii) lists the

           litigations or other legal actions in which the In-House Counsel participates in or

           advises on behalf of Defendant or any other employer.



                                            23
     Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 25 of 31




     2.    Defendant may disclose Confidential Information to its designated In-House

           Counsel unless the Defendant receives a written objection from Plaintiff or any

           Protected Person within 10 days of receiving the Defendant’s written statement

           pursuant to paragraph F(1) above. Any such objection must set forth in detail the

           grounds on which it is based.

     3.    If Defendant receives a timely written objection it must meet and confer with the

           Plaintiff or any Protected Person to try to resolve the matter by agreement within

           seven (7) days of the written objection. If no agreement is reached, Plaintiff

           and/or any Protected Person will have seven (7) days to file a motion with the

           Court, objecting to designated In-House Counsel. Defendant will not disclose any

           Confidential Information (and at no point may disclose Highly Confidential

           Information) to its In-House Counsel pending resolution of the dispute. If the

           Court finds that the designated In-House Counsel qualifies under the provisions of

           paragraph D(2)(d), Defendant will be able to disclose Confidential Information to

           its designated In-House Counsel in accordance with paragraph D(2)(d).

G.   Use of Information Designated Highly Confidential or Confidential in This Action

     1.    In the event that any Highly Confidential Information or Confidential Information

           is contained in any pleading, motion, exhibit or other paper filed or to be filed

           with the Court, the Court shall be so informed by the party filing such papers, and

           such papers shall be filed under seal, in accordance with Local Rule 5.1(h). This

           Order hereby grants the Parties and any Non-Party Protected Person leave to file

           such properly designated Highly Confidential Information or Confidential

           Information under seal. Highly Confidential Information and Confidential



                                            24
     Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 26 of 31




           Information contained in the papers shall continue to be maintained under seal

           until further order of the Court, provided, however, that such papers may be

           furnished to persons or entities who may receive Highly Confidential Information

           or Confidential Information pursuant to paragraphs D(1) and D(2). Upon or after

           filing any paper containing Highly Confidential Information or Confidential

           Information, the filing Party or Non-Party Protected Person shall file on the public

           record a duplicate copy of the paper that does not reveal Highly Confidential

           Information or Confidential Information. Further, if the protection for any such

           material expires, a Party or Non-Party Protected Person may file on the public

           record a duplicate copy that also contains the formerly protected material.

           Nothing in this Order shall restrict the Parties or any interested member of the

           public from challenging the filing of any Highly Confidential Information or

           Confidential Information under seal.

     2.    Parties shall give the other parties notice if they reasonably expect a deposition,

           hearing, or other proceeding to include Highly Confidential Information or

           Confidential Information so that the other parties can ensure that only authorized

           individuals are present at those proceedings. The use of a document as an exhibit

           at a deposition shall not in any way affect its designation as Highly Confidential

           Information or Confidential Information.

H.   Use of Highly Confidential Information or Confidential Information at Trial

     1.    Disclosure at trial or at any evidentiary hearing of any document, testimony, or

           other material designated as Highly Confidential Information or Confidential

           Information will be governed pursuant to a separate court order. In advance of



                                            25
     Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 27 of 31




           the filing of a proposed order governing the disclosure of Highly Confidential

           Information or Confidential Information at trial or any evidentiary hearing, the

           Parties shall provide notice of such order to third parties whose Highly

           Confidential Information or Confidential Information is expected to be used at

           trial or any evidentiary hearing.

     2.    Unless otherwise provided for in this Order, all Highly Confidential Information

           and Confidential Information produced by a Party or a Non-Party as part of this

           proceeding shall be used solely for the conduct of this Action and shall not be

           used for any business, commercial, competitive, personal, or other purpose.

I.   Procedures upon Termination of This Action

     1.    The obligations imposed by this Order survive final disposition of this Action

           unless the Court, which shall retain jurisdiction to resolve any disputes arising out

           of this Order, orders otherwise. Within 90 days after the expiration of the time for

           appeal of an order, judgment, or decree terminating this litigation, all persons

           having received information designated as Highly Confidential Information or

           Confidential Information must either make a good faith effort to return such

           material and all copies thereof to the Protected Person (or the Protected Person’s

           counsel if represented by counsel) that produced it, or certify that it has destroyed

           or deleted all such Highly Confidential Information or Confidential Information in

           writing to the Party or Protected Person.

     2.    Counsel for the Parties will be entitled to retain court papers and exhibits,

           deposition transcripts and exhibits, trial transcripts and exhibits, and work

           product, provided that the Parties and their counsel do not disclose the portions of



                                               26
     Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 28 of 31




           court papers and exhibits, deposition transcripts and exhibits, trial transcripts and

           exhibits, or work product containing information designated as Highly

           Confidential Information or Confidential Information to any person except

           pursuant to court order or agreement with the Protected Person that produced the

           Highly Confidential Information or Confidential Information or as otherwise

           permitted herein. All Highly Confidential Information and Confidential

           Information returned to the Parties or their counsel by the Court likewise must be

           disposed of in accordance with this paragraph. Nothing in this paragraph,

           however, restricts the rights of the Parties under paragraphs D (5) or D (6) of this

           Order.

J.   Right to Seek Modification

     1.    Nothing in this Order limits any Person, Party, or a Protected Person, from

           seeking (i) further or additional protections of any of its materials, or

           (ii) modification of this Order upon motion duly made pursuant to the Rules of

           this Court, including, without limitation, an order that certain material not be

           produced at all or is not admissible evidence in this Action or any other

           proceeding.

K.   The Privacy Act

     1.    Any order of this Court requiring the production of any document, information, or

           transcript of testimony constitutes a court order within the meaning of the Privacy

           Act, 5 U.S.C.§ 552a(b)(11).

L.   Persons Bound by This Order




                                             27
     Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 29 of 31




     1.    This Order shall be binding on the Parties to this Action, their attorneys, and their

           successors, personal representatives, administrators, assigns, parents, subsidiaries,

           divisions, affiliates, employees, agents, retained consultants and experts, and any

           persons or organizations over which they have direct control. This Order shall

           also be binding on every person who signs Appendix A or Appendix B.

     2.    All persons subject to this Order are reminded that this Order may be enforced by

           the Court’s full powers of criminal and civil contempt.

SO ORDERED.


DATED: ________________                                   ___________________________
                                                           Honorable James E. Boasberg
                                                           United States District Judge




                                            28
       Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 30 of 31




                                              APPENDIX A

                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

                                 Plaintiff,

                         v.                           Civil Action No. 1:20−cv−03590 (JEB)

 META PLATFORMS, INC.

                                 Defendant.


                    AGREEMENT CONCERNING CONFIDENTIALITY

I, ________, am employed by _____________ as ______________.

I hereby certify that:

        1.      I have read the Protective Order entered in the above-captioned action and
                understand its terms.

        2.      I agree to be bound by the terms of the Protective Order entered in the
                above--captioned action. I agree to use the information provided to me only as
                explicitly provided in this Protective Order.

        3.      I understand that my failure to abide by the terms of the Protective Order entered
                in the above-captioned action will subject me, without limitation, to civil and
                criminal penalties for contempt of Court.

        4.      I submit to the jurisdiction of the United States District Court for the District of
                Columbia solely for the purpose of enforcing the terms of the Protective Order
                entered in the above-captioned action and freely and knowingly waive any right I
                may otherwise have to object to the jurisdiction of said court.


____________________________ SIGNATURE

____________________________ DATE
       Case 1:20-cv-03590-JEB Document 118-3 Filed 03/16/22 Page 31 of 31




                                              APPENDIX B

                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

                                 Plaintiff,

                         v.                           Civil Action No. 1:20−cv−03590 (JEB)

 META PLATFORMS, INC.

                                 Defendant.


             IN-HOUSE LITIGATION COUNSEL AGREEMENT CONCERNING
                               CONFIDENTIALITY

I, ________, am employed as _____________ by ______________.

I hereby certify that:

        1.      I have read the Protective Order entered in the above-captioned action and
                understand its terms.

        2.      I agree to be bound by the terms of the Protective Order entered in the
                above-captioned action, agree that in my role as in-house litigation counsel for the
                above Defendant company I meet the requirements of paragraph D(2)(d) of this
                Protective Order, and agree to use the information provided to me only as
                explicitly provided in this Protective Order.

        3.      I understand that my failure to abide by the terms of the Protective Order entered
                in the above-captioned action will subject me, without limitation, to civil and
                criminal penalties for contempt of Court.

        4.      I submit to the jurisdiction of the United States District Court for the District of
                Columbia solely for the purpose of enforcing the terms of the Protective Order
                entered in the above- captioned action and freely and knowingly waive any right I
                may otherwise have to object to the jurisdiction of said Court.


____________________________ SIGNATURE

____________________________ DATE
